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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )   8:12CR135
                                               )
                       vs.                     )   ORDER FOR DISMISSAL
                                               )
GREGORIO SMITH,                                )
                                               )
                       Defendant.              )


       Pursuant to Motion of the United States (Filing No. 96), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against Gregorio Smith.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No. 96) is granted.

                   16th day of January, 2013.
       Dated this ______

                                               BY THE COURT:




                                               JOSEPH F. BATAILLON
                                               United States District Judge
